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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                             )
In re:                                                       )
                                                             )
TEHUM CARE SERVICES, INC.,1                                  ) Case No. 24-01607
                                                             )
                                     Debtor.                 )
                                                             )

                                        ENTRY OF APPEARANCE

         COMES NOW Nicholas J. Zluticky of Stinson LLP and hereby enters his appearance in

the above captioned matter on behalf of the Official Committee of Unsecured Creditors.

                                                    STINSON LLP

                                                    /s/ Nicholas J. Zluticky
                                                    Nicholas J. Zluticky (S.D. Tex. Bar No. 3846893)
                                                    Zachary H. Hemenway (S.D. Tex. Bar No. 3856801)
                                                    1201 Walnut, Suite 2900
                                                    Kansas City, MO 64106
                                                    Telephone: (816) 842-8600
                                                    nicholas.zluticky@stinson.com
                                                    Zachary.hemenway@stinson.com


                                                    COUNSEL FOR THE OFFICIAL COMMITTEE OF
                                                    UNSECURED CREDITORS




1
 The last four digits of the Debtor’s federal tax identification number is 8853. The Debtor’s service address is: 205
Powell Place, Suite 104, Brentwood, Tennessee 37027.


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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on May 9, 2024 the foregoing document was

electronically filed with the court using the CM/ECF system, which sent notification to all parties

of interest participating in the CM/ECF System.



                                             /s/ Nicholas J. Zluticky
                                             Counsel for the Official Committee of Unsecured
                                             Creditors




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